     Case 8:22-cv-00983-DFM        Document 156 Filed 07/08/24        Page 1 of 12 Page ID
                                            #:3398


1    Lenore L. Albert *Disbarred Cal Supreme Court*
2    1968 S. Coast Hwy #3960
     Laguna Beach, CA 92651
3    Telephone (424)365-0741
4    Email: lenalbert@InteractiveCounsel.com
     Attorney for Plaintiffs, John Roe 1,John Roe 3,
5
     Jane Roe 2, Chad Pratt, and NZ on behalf of
6    themselves and all others similarly situated.
7    IN FEDERAL COURT ONLY
8
9                             UNITED STATES DISTRICT COURT
10                         CENTRAL DISTRICT OF CALIFORNIA
11
12   JOHN ROE 1, an individual; JOHN ROE 3, CASE NO. 22-cv-00983-DFM
     an individual; JANE ROE 2 an individual;
13   CHAD PRATT, an individual, NZ, on        Assigned to the Hon. Douglas F. McCormick
14   behalf of themselves and all others      Complaint filed: 03-18-2022
     similarly situated,
15
                                Plaintiff,            NOTICE OF DISBARMENT
16
     vs.                                              Hearing Date: TBD
17                                                    Time: On the papers
18   THE STATE BAR OF CALIFORNIA;                     Crtm: 6B – Sixth Floor
     TYLER TECHNOLOGIES, INC.; RICK
19
     RANKIN; and DOES 4 through 10,
20   inclusive,
21                        Defendants.
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                                    NOTICE OF DISBARMENT
                 Roe v The State Bar of California, et al.        22-cv-00983-DFM
     Case 8:22-cv-00983-DFM           Document 156 Filed 07/08/24    Page 2 of 12 Page ID
                                               #:3399


1           TO THE COURT, THE PARTIES AND ALL ATTORNEYS OF RECORD:
2           COMES NOW Central District Bankruptcy Member, Lenore Albert, and gives
3    notice pursuant to Cal. Rules of Court, Rule 9.20 of disbarment notwithstanding this
4
     Court’s June 24, 2024 Order of the Hon. Dolly M. Gee.
5
            A true and correct certified copy of the California Supreme Court order is attached
6
     hereto that was sent by letter to Ms. Albert on July 3, 2024. Ms. Albert will file a
7
     separate petition for certiorari with the U.S. Supreme Court.
8
            Ms. Albert intends to file a response within the time limits outlined in the June 24,
9
     2024 Order by the Hon. Dolly M. Gee.
10
            Ms. Albert has not resigned nor ever been convicted of a crime, an alcoholic, nor
11
12   mentally infirm nor found to have any affliction that may affect her fitness to practice

13   law.
14          Under U.S. Supreme Court precedent, no such disciplinary proceeding would have
15   taken place.
16          Furthermore, the Ninth Circuit Court of Appeals B.A.P. found that the State Bar of
17   California violated the automatic stay by failing to reinstate my license to practice law in
18   2018. It is a published decision that can be found here:
19   https://cdn.ca9.uscourts.gov/datastore/bap/2024/04/02/23-1024.pdf.
20          Ms. Albert further respectfully requests that this Bar allow her to maintain her
21
     ECF filing privileges in this case.
22
            Ms. Albert disagrees with the State Bar Review Department’s recommendation
23
     and some of the facts recited therein. The State Bar admitted that it was in contempt of a
24
     federal bankruptcy order in this case and the timing is on the day Ms. Albert gave for
25
     extension to file demurrer (3/11) and provide documents (3/12) in the putative class
26
     action of John Roe v State Bar in the data breach case where she was counsel of record.
27
28
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                                       NOTICE OF DISBARMENT
                    Roe v The State Bar of California, et al.   22-cv-00983-DFM
     Case 8:22-cv-00983-DFM         Document 156 Filed 07/08/24      Page 3 of 12 Page ID
                                             #:3400


1          Ms. Albert represented approximately 191,000 California State Bar members and
2    approximately 124 State Bar Complainants or Witnesses in the putative class action of
3    John Roe, et al v State Bar of California (Tyler Technologies) in the Orange County
4
     Superior Court of the state of California wherein the Court overruled demurs by Tyler
5
     Technologies as to its Negligence and by the State Bar as to failing to meet its mandatory
6
     duty under Business & Professions Code § 6086.1 to keep State Bar investigations
7
     confidential until public disciplinary charges are filed. A motion to certify the class was
8
     filed and set to be heard this June. According to the California State Bar website,
9
     approximately 30-50 attorneys who are barred in Michigan also maintain a California
10
     State Bar membership and were more likely than not also victims of the data breach that
11
12   the defendants have tried to quash. The Orange County Superior Court judge has

13   continued all matters in that case to October 18, 2024 to give the plaintiffs’ putative class
14   members a chance to find a new attorney or home. No other attorney in California will
15   take the case because they fear retaliation and see this disbarment solely as retaliation.
16         The integrity of the judicial system in California has been destroyed by the
17   State Bar. The other attorneys filed declarations anonymously, concerning the same but
18   the California Supreme Court refused to look at them.
19         What the State Bar did to Ms. Albert in her bankruptcy case was nothing short of
20   extortion of nearly $60,000.00. It was not minor – it was criminal.
21
           Please be advised that the disbarment is based on practice of law in a federal court
22
     that did not sanction, admonish, or suspend Ms. Albert at the time. It was an act
23
     performed on or about March 1, 2021 by an Operations Supervisor without a Judge
24
     advising her to do so. And that act occurred AFTER Ms. Albert filed a motion in Noble
25
     and an Answer in Grewal. After March 1, 2021, Ms. Albert did not file anything further
26
     and her membership was reinstated in that federal court in May 2021. The issue is before
27
     the Ninth Circuit.
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                                     NOTICE OF DISBARMENT
                  Roe v The State Bar of California, et al.      22-cv-00983-DFM
     Case 8:22-cv-00983-DFM         Document 156 Filed 07/08/24       Page 4 of 12 Page ID
                                             #:3401


1          “[S]uspension from federal practice is not dictated by state Rules.” In re Poole,
2    222 F.3d 618, 622 (9th Cir. 2000). Our Ninth Circuit explained “[t]he Rules in Theard v.
3    United States,354 U.S. 278, 77 S.Ct. 1274, 1 L.Ed.2d 1342 (1957), required a hearing
4
     prior to disbarment…and therefore prevented the local Rules from taking effect
5
     automatically.” United States v. Mouzin (9th Cir. 1986) 785 F.2d 682, 704 fn. 6.
6
     “Without its observance no one would be safe from oppression wherever power may be
7
     lodged.” Ex Parte Robinson, 86 U.S. 505, 512-13 (1873).
8
           Ms. Albert’s disagreement is not an attempt to obfuscate the disbarment or
9
     suspension that is looming over her law license in the State of California.
10
           On August 16, 2024 the Ninth Circuit Court of Appeals is going to hear her appeal
11
12   of dismissal of her civil lawsuit from this District Court against Roxanne Gonzalez, the

13   Operations Supervisor, under Bivens who unilaterally changed her membership status
14   from active to inactive. That can be viewed online at the Pasadena Courthouse location.
15   Dated: July 8, 2024                        Respectfully Submitted,
                                                /s/ Lenore Albert______________________
16
                                                LENORE L. ALBERT
17                                              Attorney for Plaintiffs, John Roe 1,John Roe 3,
18                                              Jane Roe 2, Chad Pratt, and NZ on behalf of
                                                themselves and all others similarly situated. ** In
19                                              Federal Court ONLY – Disbarred Cal Supreme
20                                              Court
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                                     NOTICE OF DISBARMENT
                  Roe v The State Bar of California, et al.        22-cv-00983-DFM
     Case 8:22-cv-00983-DFM         Document 156 Filed 07/08/24         Page 5 of 12 Page ID
                                             #:3402


1                                          PROOF OF SERVICE
2    STATE OF CALIFORNIA, COUNTY OF ORANGE:
3     I declare that I am over the age of 18 years, and not a party to the within action; that I
     am employed in Orange County, California; my business address is 1968 S Coast Hwy
4
     #3960, Laguna Beach, CA 92651. On July 8, 2024, I served a copy of the following
5    document(s) described as:
6    NOTICE OF DISBARMENT
7    On the interested parties in this action as follows:
8
     SEE ELECTRONIC SERVICE LIST ATTACHED
9
10   [x] BY E-SERVE and EMAIL – I caused such document(s) to be transmitted to the
     office(s) of the addressee(s) listed above by electronic mail at the e-mail address(es) set
11   forth.
12   [] BY MAIL– I caused such document(s) to be placed in pre-addressed envelope(s)
     with postage thereon fully prepaid and sealed, to be deposited as regular US Mail at
13
     Santa Ana, California, to the aforementioned addressee(s).
14    I declare under penalty of perjury under the laws of the State of California and the
15   United States of America that the foregoing is true and correct.

16   Dated: July 8, 2024
17                                                         _/s/_Lenore Albert____________________
                                                                        Lenore Albert
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                                     NOTICE OF DISBARMENT
                  Roe v The State Bar of California, et al.          22-cv-00983-DFM
     Case 8:22-cv-00983-DFM       Document 156 Filed 07/08/24   Page 6 of 12 Page ID
                                           #:3403


1                               ELECTRONIC SERVICE LIST
2    For Defendants State Bar of California
3    David M. Liu
     FREEMAN MATHIS & GARY, LLP
4
     3030 Old Ranch Parkway | Suite 200 | Seal Beach, CA 90740-2713
5    D: 562-245-8405 | C: 562-682-8062
6
     David.Liu@fmglaw.com

7    ROBERT G. RETANA (148677) Deputy General Counsel
8    SUZANNE C. GRANDT (304794)
     Assistant General Counsel
9
     OFFICE OF GENERAL COUNSEL
10   THE STATE BAR OF CALIFORNIA
     180 Howard Street
11
     San Francisco, CA 94105-1639 Telephone: 415-538-2388; Facsimile: 415-538-2517
12   Email: suzanne.grandt@calbar.ca.gov
13   For Defendant Rick Rankin
14   JEFFER MANGELS BUTLER & MITCHELL LLP
     MICHAEL A. GOLD (Bar No. 90667)
15
     mgold@jmbm.com
16   JUSTIN ANDERSON (Bar No. 328969)
17
     Janderson@jmbm.com
     1900 Avenue of the Stars, 7th Floor.
18   Los Angeles, California 90067-4308
19   Telephone: (310) 203-8080
     Facsimile: (310) 203-0567
20
21   For Defendant Tyler Technologies, Inc.
     K&L GATES LLP
22
     Beth Petronio
23   Christina N. Goodrich (SBN 261722) christina.goodrich@klgates.com
24   Zachary T. Timm (SBN 316564) zach.timm@klgates.com
     10100 Santa Monica Boulevard Seventh Floor
25   Los Angeles, California 90067
26   Telephone: 310.552.5000 Facsimile: 310.552.5001
27
     BY EMAIL: TO ALL JOHN ROE AND JANE ROE PLAINTIFFS, AND CHAD
28   PRATT
                                                     5
                                   NOTICE OF DISBARMENT
                Roe v The State Bar of California, et al.   22-cv-00983-DFM
Case 8:22-cv-00983-DFM   Document 156 Filed 07/08/24   Page 7 of 12 Page ID
                                  #:3404




                                  EX 1




                                    6
 Case 8:22-cv-00983-DFM                    Document 156 Filed 07/08/24      Page 8 of 12 Page ID
                                                    #:3405

                                                                            DIVISION OF REGULATION



                 180 Howard Street, San Francisco, CA 94105                 AttorneyRegulation@calbar.ca.gov
                                                                                               888-800-3400
 July 3, 2024

 #210876
 Lenore L. Albert
 Lenore Albert
 1968 S Coast Hwy # 3960
 Laguna Beach, CA 92651-3681

 Dear Lenore L. Albert:

 Our records indicate that you owe $27,055.00 to the State Bar of California (“State Bar”) for
 discipline costs and $5,000.00 for monetary sanctions assessed in State Bar Court Case No. SBC-
 22-O-30348 et al. Please note that you may owe additional debt to the State Bar if you have
 additional disciplinary cases or owe Client Security Fund (“CSF”) reimbursement(s).

 This is an opportunity for you to voluntarily pay the sums owed to the State Bar. The State Bar
 will require full payment in certified funds on or before August 16, 2024, which is 30 days after
 the Supreme Court order (S284532) goes into effect. For any questions concerning the amount
 owed, please call Omar Easley at 415-538-2113 or
 email AttorneyRegulation@calbar.ca.gov. Send your payment to the State Bar of California,
 Attn: Office of Finance, 180 Howard Street, San Francisco, CA 94105.

 If you do not make the full payment as noted above, the State Bar will enforce these sanctions
 as a civil money judgment in a Superior Court and/or will submit your account to the Franchise
 Tax Board (“FTB”) to collect the delinquent debt as described below.

 Under Business & Professions Code section 6086.10, subdivision (a), and State Bar Rules of
 Procedure, Rule 5.137, subdivision (G), these assessed monetary sanctions are enforceable as a
 civil money judgment and may be collected by the State Bar through any means provided by
 law. This provision applies to any individual who has been disbarred or resigned with charges
 pending, or received an actual or stayed suspension or a public reproval.

 This is an opportunity for you to voluntarily pay the sums owed to the State Bar before a civil
 money judgment is filed with the Superior Court and subsequent proceedings commence. If
 such a judgment is filed, you will be liable for additional costs associated with enforcing the
 judgment and interest.

 If payment is not received, the State Bar is also authorized to submit your account to the
 California Franchise Tax Board (FTB) for collection. FTB is authorized by the California State

San Francisco Office                                    www.calbar.ca.gov                Los Angeles Office
180 Howard Street                                                                        845 S. Figueroa Street
San Francisco, CA 94105                                                                  Los Angeles, CA 90017

                                                              7
Case 8:22-cv-00983-DFM           Document 156 Filed 07/08/24             Page 9 of 12 Page ID
                                          #:3406
Lenore L. Albert, #210876
July 3, 2024
Page 2



Legislature to collect court-ordered debt for participating courts and agencies under the
California Revenue and Taxation Code sections 19280-19283. FTB’s Court Ordered Debt
program issues wage garnishment, bank levies, and/or seizure of real and personal property or
other assets to collect delinquent court-ordered debt.

The State Bar also participates in FTB’s Interagency Intercept Collection (FTB-IIC) program
pursuant to Business and Professions Code section 6034. FTB IIC program is in conjunction with
the State Controller’s Office, collecting delinquent liabilities individuals owe to state and local
agencies. FTB IIC Program intercepts tax refunds, unclaimed property claims, and lottery
winnings owed to individuals. FTB redirects these funds to pay the individual’s debts (California
Government Code Sections 12419.2, 12419.7, 12419.9, 12419.10, 12419.11, and 12419.12).

If you disagree with the amounts owed, you must provide written documentation of payments
or a court order modifying or waiving the amounts owed to the Office of Finance before
August 16, 2024.

       State Bar of California
       Attn: Office of Finance
       180 Howard Street
       San Francisco, CA 94105

Sincerely,



Division of Regulation


Enclosure




                                                 8
Case 8:22-cv-00983-DFM   Document 156 Filed 07/08/24   Page 10 of 12 Page ID
                                   #:3407




                                     9
Case 8:22-cv-00983-DFM   Document 156 Filed 07/08/24   Page 11 of 12 Page ID
                                   #:3408




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Case 8:22-cv-00983-DFM   Document 156 Filed 07/08/24   Page 12 of 12 Page ID
                                   #:3409




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